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                                                                                          JS-6
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



Case No.: ED CV 13-02329-AB (AGRx)                                Date:   August 6, 2015


 Title:     Leo Harris v. CVS Pharmacy, Inc. et al.



 Present: The Honorable          ANDRÉ BIROTTE JR.

                Carla Badirian                                           N/A
                Deputy Clerk                                        Court Reporter

          Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                 None Appearing                                    None Appearing

 Proceedings:            [In Chambers] Order GRANTING Motion To Dismiss
        Plaintiff Leo Harris (“Plaintiff”) brings this putative class action complaint,
alleging that Defendant CVS Pharmacy, Inc. (“CVS”) violated various California and
Rhode Island consumer protection statutes and breached express and implied warranties in
connection with the marketing and sale of the CVS-branded Ultra CoQ10 softgel dietary
supplements. (Dkt. No. 1.)

       CVS filed a motion to dismiss this action for lack of subject-matter jurisdiction on
the grounds that Plaintiff’s class action complaint fails to satisfy the jurisdictional
requirements of the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2), and the
Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C. § 2301 et seq., and Plaintiff does
not plead any other basis for subject-matter jurisdiction. (Mot. to Dismiss, Dkt. No. 107.)
Plaintiff opposed (Dkt. No. 108), and CVS filed a reply brief. (Dkt. No. 115.) The Court
took the matter under submission without oral argument. (Dkt. No. 122.) Having
considered the materials and arguments submitted by the parties, and for the reasons
indicated below, the Court GRANTS Defendant’s motion to dismiss (Dkt. No. 107), and
DISMISSES this action WITHOUT PREJUDICE to Plaintiff reasserting his claims in a
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court of competent jurisdiction.

    I.      BACKGROUND

            A.   Plaintiff’s Action
        In December 2013, Plaintiff filed a false advertising putative class action on behalf
of individuals who purchased the CVS-branded dietary supplement “Ultra CoQ10” from
CVS. Coenzyme Q10, or CoQ10, is a naturally occurring compound produced in the
human body, and people take CoQ10 supplements to, among other things, improve overall
health. The packaging for the Ultra CoQ10 supplements state that the supplements
provide “6X Better Absorption” than “regular CoQ-10 softgels” using a “patented
VESIsorb® technology from Switzerland,” and that the supplements support “Heart &
Muscle Health.” The U.S. Pharmacopeial Convention (“USP”) sets standards for dietary
supplements, including labeling standards. With respect to CoQ10, USP requires that at
least 75% of the amount of CoQ10 in a given capsule (as represented on the product label)
dissolve in the blood stream. To properly dissolve, "most" capsules must rupture within
15 minutes of ingestion, and 2 out of every 18 capsules may rupture within 30 minutes of
ingestion. With respect to labeling requirements, USP only requires that CoQ10 labels
state whether the capsules are water-soluble or fat-soluble. The crux of Plaintiff’s claims
is that independent laboratory testing has conclusively demonstrated that the CVS Ultra
CoQ10 supplements do not rupture within 15 minutes; that out of 12 capsules tested, only 2
fully ruptured, and even then they ruptured 50 minutes after ingestion with dissolution
rates under 28%; and that the study cited to support the “6X Better Absorption” claim is
flawed. (See generally Complaint, Dkt. No. 1.)

       Plaintiff asserts putative class action claims under Rhode Island law and the
MMWA on behalf of all persons in the United States who purchased CVS Ultra CoQ10.
(Complaint, Dkt. 1.) Plaintiff also asserts claims under California law on behalf of a
California subclass of all persons in California who purchased CVS Ultra CoQ10. Id.
Plaintiff seeks to recover damages equal to the amount of the full purchase paid for CVS
Ultra CoQ10 by members of the class, or statutory damages as applicable. (Id.)

            B.   Nationwide Sales of CVS Ultra CoQ10
       As of December 18, 2013, when Plaintiff filed the Complaint, nationwide sales of
CVS Ultra CoQ10 totaled $1,192,234. (Molengraff Decl., Dkt. No. 107, ¶ 8.) However,
in a separate discovery response, CVS showed $985,577 in national sales through
December 2013. (Fitzgerald Dec. Ex. 3, Dkt. No. 117.) At that time, the sales for CVS
Ultra CoQ10 in California CVS stores totaled $151,701. (Molengraff Decl., Dkt. No.
107, ¶ 7.) Through December 2013, CVS sold 53,545 units of Ultra CoQ10 nationwide.
(Fitzgerald Decl. Ex. 1 at 9-11, Response to Interrogatory No. 1, Dkt. No. 117.)

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    II.     LEGAL STANDARD
       Federal courts are courts of limited jurisdiction, having subject-matter jurisdiction
only over matters authorized by the Constitution and Congress. See, e.g., Kokkonen v.
Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). Courts “presume[] that a cause
lies outside this limited jurisdiction,” until the party invoking federal jurisdiction
establishes otherwise. Id.; In re Wilshire Courtyard, 729 F.3d 1279, 1284 (9th Cir. 2013)
(“The burden of establishing subject matter jurisdiction rests on the party asserting that the
court has jurisdiction.”). The proponent of jurisdiction has the burden of establishing
every element of federal jurisdiction, including any applicable amount in controversy.
Abrego Abrego v. The Dow Chemical Co., 433 F.3d 676, 682-83 (9th Cir. 2006). Under
Federal Rule of Civil Procedure (“Rule”) 12, a defendant may move, at any time, to
dismiss for lack of subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1). “A federal court
always has jurisdiction to determine its jurisdiction.” In re Bunyan, 354 F.3d 1149, 1152
(9th Cir. 2004) (citing United States v. Ruiz, 536 U.S. 622, 628 (2002)).

       Under Rule 12(b)(1), a defendant may bring a facial attack on the court’s
subject-matter jurisdiction, in which case, the court “assume[s] [plaintiff’s factual]
allegations to be true and draw[s] all reasonable inferences in his favor.” Wolfe v.
Strankman, 392 F.3d 358, 362 (9th Cir. 2004). Courts do not accept the truthfulness of
any legal conclusions contained in the complaint when assessing a facial attack on
subject-matter jurisdiction under Rule 12(b)(1). Warren v. Fox Family Worldwide, Inc.,
328 F.3d 1136, 1139 (9th Cir. 2003). Under Rule 12(b)(1), a defendant may also bring a
factual attack on the district court’s subject-matter jurisdiction. Unlike a Rule 12(b)(6)
motion or a facial Rule 12(b)(1) motion, a factual attack on subject-matter jurisdiction
under Rule 12(b)(1) affords the district court discretion to consider extrinsic evidence and,
if disputed, weigh the evidence to determine whether the facts support subject-matter
jurisdiction without converting the motion to dismiss into a motion for summary judgment.
White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In this case, the Court does not
presume the truthfulness of the plaintiff’s allegations. Id. “The presumption of
correctness that we accord to a complaint’s allegations falls away on the jurisdictional
issue once a defendant proffers evidence that calls the court’s jurisdiction into question.”
Commodity Trend Service, Inc. v. Commodity Futures Trading Comm’n, 149 F.3d 679,
685 (7th Cir. 1998).

       “When the defendant raises a factual attack, the plaintiff must support her
jurisdictional allegations with competent proof….” Leite v. Crane Co., 749 F.3d 1117,
1121 (9th Cir. 2014) (internal quotes omitted.) Generally, the plaintiff must prove each of
the requirements for subject-matter jurisdiction by a preponderance of the evidence in
response to a defendant’s factual Rule 12(b)(1) motion. Id. However, “a plaintiff need
only establish a prima facie case of jurisdiction” if the court decides the motion without an
evidentiary hearing. Rancheria v. Bonham, 872 F. Supp. 2d 964, 968 (N.D. Cal. 2012).
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    III.    DISCUSSION
      Plaintiff invokes the Court’s diversity jurisdiction under CAFA and the Court’s
federal question jurisdiction MMWA. (Dkt. No. 1, ¶10.) The Court addresses each
claim for subject-matter jurisdiction separately.

            A.   Plaintiff Has Not Met His Burden to Prove that the Amount in
                 Controversy Exceeds CAFA’s $5,000,000 Jurisdictional Requirement
       On July 16, 2015, CVS filed a Motion to Dismiss under Rule 12(b)(1), arguing that
the Court lacks subject-matter jurisdiction. Plaintiff seeks to invoke the District Court’s
jurisdiction under CAFA. Federal courts have original jurisdiction under CAFA where
the number of proposed plaintiffs is greater than 100, there is a diversity of citizenship
between any member of the class and any defendant, and the amount in controversy is
more than $5,000,000, exclusive of interest and costs. 28 U.S.C. § 1332(d); Ibarra v.
Manheim Investments, Inc., 775 F.3d 1193, 1195 (9th Cir. 2015). Though a putative class
action complaint need only include a plausible allegation that the amount in controversy
exceeds the jurisdictional threshold, when the amount in controversy is contested, “both
sides submit proof and the court decides, by a preponderance of the evidence, whether the
amount-in-controversy requirement has been satisfied.” Dart Cherokee Basin Operating
Co., LLC v. Owens, -- U.S. --, 135 S. Ct. 547, 550 (2014) (analyzing jurisdiction in the
context of when a defendant removes an action to federal court under CAFA).

       Plaintiff’s complaint alleges that the Court has original diversity jurisdiction under
CAFA because “the amount in controversy exceeds the sum or value of $5,000,000
exclusive of interest and costs.” (Complaint, Dkt. No. 1, ¶ 10.) Defendant disputes
Plaintiff’s amount in controversy and provides evidence that as of December 2013 when
Plaintiff filed suit, CVS’ total sales for CVS Ultra CoQ10 was $1,192,234 for CVS stores
nationwide. (Molengraff Decl., Dkt. No. 107, ¶ 8.) Plaintiff argues that the sales figures
in CVS interrogatory responses and Ms. Molengraff's declaration are inconsistent with Mr.
Fitzgerald’s declaration showing $985,577 sales through December 2013. (Molengraff
Decl. ¶ 8; Fitzgerald Decl. ¶ 2 & Ex. 3.) But these discrepancies in the sale figures do not
support the proposition that the amount in controversy is satisfied, or can be satisfied if
Plaintiff is given an opportunity to discover new facts regarding CVS’s sale of Ultra
CoQ10. Even considering the sales numbers most favorable to Plaintiff, the total amount
of sales, as of December 2013, did not exceed $1,192,234.

       In opposition to the motion, Plaintiff does not dispute that he is unable to satisfy
CAFA’s $5,000,000 jurisdictional threshold using his full refund model of restitution or
compensatory damages. Rather, Plaintiff’s argument that he has satisfied CAFA’s
jurisdictional amount-in-controversy is premised on his claims under the Rhode Island
Deceptive Trade Practices Act (“RIDTPA,” R.I. Gen. L. §6-13.1-1, et seq.), which
provides for statutory damages, punitive damages, and attorneys’ fees. (Dkt. No. 108, pp.
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3-5, 7-9.) Alternatively, Plaintiff contends that he has satisfied CAFA’s
amount-in-controversy requirement after accounting for the value of the injunctive relief.
(Dkt. No. 108, pp. 6-7.)1

                 1.     Plaintiff Lacks Standing to Assert Claims for Statutory Damages
                        under the Rhode Island Deceptive Trade Practices Act

       As in any other case in federal court, “named plaintiffs who represent a class must
allege and show that they” personally have standing under Article III to bring suit; it is not
enough to show that “other, unidentified members of the class to which they belong and
which they purport to represent” will eventually have standing. Lewis v. Casey, 518 U.S.
343, 357 (1996) (internal quotes omitted). “[E]ven when the plaintiff has alleged injury
sufficient to meet the ‘case or controversy’ requirement, [the Supreme] Court has held that
the plaintiff generally must assert his own legal rights and interests, and cannot rest his
claim to relief on the legal rights or interests of third parties. Warth v. Seldin, 422 U.S.
490, 499 (1975). Because a plaintiff’s standing to bring suit is a fundamental aspect of a
district court’s subject-matter jurisdiction,2 a district court may (and generally should)
“address[] the issue of standing before it addresse[s] the issue of class certification.”
Easter v. American West Financial, 381 F.3d 948, 962 (9th Cir. 2004); Lee v. State of
Oregon, 107 F.3d 1382, 1390 (9th Cir.1997) (“Standing is a jurisdictional element that
must be satisfied prior to class certification.”) (citation omitted); accord In re Carrier IQ,
Inc., __ F. Supp. 3d __, 2015 WL 274054 at *8-14 (noting that district courts have
discretion to determine whether to consider standing before class certification and
dismissing state-law consumer protection claims where no named plaintiff had standing to
assert any of the dismissed claims). Standing is claim-specific and “a plaintiff must
demonstrate standing for each claim he seeks to press.” DaimlerChrysler Corp. v. Cuno,
547 U.S. 332, 352 (2006).

       Whether Plaintiff may rely on the RIDTPA’s unique statutory damage provisions to
take his claims above CAFA’s $5,000,000 jurisdictional threshold, therefore, depends on
his individual standing to bring a claim under that Rhode Island statute. Warth v. Seldin,
supra, 422 U.S. at 499. As the party advocating for the application of Rhode Island law,
Plaintiff must make at least prima facie showing that the RIDTPA applies to him such that
he would have standing to bring that claim. Allen v. Hyland’s Inc., 300 F.R.D. 643, 657
(C.D. Cal. 2014). This is a particularly difficult burden for Plaintiff to bear, however,
because Plaintiff (as the only named plaintiff in this uncertified class action) alleges that he
is a resident of California who purchased the CVS-branded CoQ10 supplement in
California. (Dkt. No. 1, ¶¶8, 32.) “Courts routinely dismiss claims” for lack of
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  Plaintiff does not argue that his claims under California law on behalf of the putative California class are
sufficient to satisfy CAFA’s $5,000,000 jurisdictional threshold. As noted above, CVS’s total sales in
California totaled $151,701 at the time Plaintiff brought suit. (Dkt. No. 107-3, ¶7.)
2
    Bates v. United Parcel Svc., Inc., 511 F.3d 974, 985 (9th Cir. 2007)
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subject-matter jurisdiction “where no plaintiff is alleged to reside in a state whose laws the
class seeks to enforce” because the named plaintiff lacks standing to invoke the foreign
statute. In re Aftermarket Auto. Lighting Products Antitrust Litig., No. 09 MDL
2007-GW PJWX, 2009 WL 9502003, at *6 (C.D. Cal. July 6, 2009); accord In re Carrier
IQ, Inc., supra, 2015 WL 274054, 14 (“Plaintiffs do not have standing to assert claims
from states in which they do not reside or did not purchase their mobile device”); Fenerjian
v. Nongshim Co., Ltd, 72 F. Supp. 3d 1058 (N.D. Cal. 2014) (“None of the
named…plaintiffs reside[d] in, or suffered an injury in” 24 states in a national class action”
and “therefore lack[ed] standing to assert claims based on those states’ laws”); Pardini v.
Unilever United States, Inc., 961 F. Supp. 2d 1048, 1061 (N.D. Cal. 2013) (“Here, there is
only one named plaintiff and she has not alleged that she purchased [the offending product]
outside of California. Thus, Plaintiff does not have standing to assert a claim under the
consumer protection laws of the other states named in the Complaint. This is a pleading
defect amenable to determination prior to a motion for class certification.”); In re Apple &
AT&TM Antitrust Litig., 596 F. Supp. 2d 1288, 1309 (N.D. Cal. 2008) (named plaintiffs in
national class action lacked standing to assert “violations of the consumer protection laws
of” states where they did not reside or suffer an injury); In re Ditropan LX Antitrust
Litigation, 529 F. Supp. 2d 1098, 1107 (same); In re Graphics Processing Units Antitrust
Litigation, 527 F. Supp. 2d 1011, 1026-27 (N.D. Cal. 2007) (same).

       To meet his burden of proving standing under Rhode Island law, Plaintiff must show
some plausible basis for invoking that foreign law. Plaintiff does not, however, argue that
the RIDTPA has extraterritorial effect outside of Rhode Island. To the contrary, Rhode
Island law is clear that, absent some indication to the contrary “extraterritorial force cannot
be given to a [Rhode Island] statute.” Farrell v. Employers’ Liab. Assur. Corp., 54 R.I.
18, 168 A. 911, 912 (R.I. 1933); Grinnell v. Wilkinson, 39 R.I. 447, 98 A. 103, 106 (1916)
(“Unless the intention to have a statute operate beyond the limits of a state is clearly
expressed or reasonably to be inferred from the language of the act, or from its purpose,
subject-matter, or history, the presumption is that the statute is intended to have no
extraterritorial effect”); see also Morrison Nat’l Australia Bank, Ltd., 561 U.S. 247, 255
(2010) (“When a statute gives no clear indication of an extraterritorial application, it has
none.”)

       Nor does Plaintiff identify any basis to conclude that the law of Rhode Island would
apply to him under standard choice-of-law principles. Because California’s
choice-of-law rules apply in this diversity action,3 Plaintiff may only apply Rhode Island
law to his alleged injury if Rhode Island’s interest in applying its consumer protection laws
in California outweigh California’s interest in applying its own consumer protection laws


3
  Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1187 (9th Cir. 2001) (“A federal court sitting in
diversity must look to the forum state’s choice of law rules to determine the controlling substantive law”)
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in California.4 Mazza v. American Honda Motor Co., Inc. (“Mazza”), 666 F.3d 581, 590
(9th Cir. 2012), citing McCann v. Foster Wheeler LLC, 48 Cal.4th 68, 81-82, 225 P.3d 516
(2010). California law generally recognizes that “the place of the wrong has the
predominant interest.” Mazza, 666 F.3d at 593, quoting Hernandez v. Burger, 102
Cal.App.3d 795, 802, 162 Cal.Rptr. 564 (1980). In the context of a plaintiff alleging false
advertisement, the “place of the wrong” is where the plaintiff received the allegedly false
advertisement. Mazza, 666 F.3d at 593-94. Under those choice-of-law principles, the
fact that Defendant is incorporated in Rhode Island is not sufficient to overcome
California’s interest in applying its consumer protection laws to Plaintiff’s transaction,
which occurred entirely within California. Id. at 594 (under California’s choice-of-law
rules, the fact that defendant was incorporated in California was not sufficient to justify
applying California’s consumer protection laws to non-resident plaintiffs who bought
product outside of California).

       Plaintiff having failed to establish any basis for applying Rhode Island law to him,
he lacks standing to assert any claims under the RIDTPA or any other provision of Rhode
Island law. In re Carrier IQ, Inc., supra, 2015 WL 274054, at *14; Fenerjian v.
Nongshim Co., Ltd, supra, 72 F. Supp. 3d 1058; Pardini v. Unilever United States, Inc.,
supra, 961 F. Supp. 2d at 1061; In re Aftermarket Auto. Lighting Products Antitrust Litig.,
supra, 2009 WL 9502003, at *6; In re Apple & AT&TM Antitrust Litig., supra, 596 F.
Supp. 2d at 1309; In re Ditropan LX Antitrust Litigation, supra, 529 F. Supp. 2d at 1107; In
re Graphics Processing Units Antitrust Litigation, 527 F. Supp. 2d at 1026-27. Absent
any standing to invoke Rhode Island law, the Court lacks jurisdiction to entertain
Plaintiff’s claims under the RIDTPA, and Plaintiff cannot rely on the RIDTPA’s statutory
damages provision to satisfy CAFA’s $5,000,000 amount-in-controversy requirement.

                           a.      The Court’s Analysis Does Not Confuse Choice of Law
                                   with Standing
       It is important to distinguish the question of Plaintiff’s standing to assert a claim
under Rhode Island law from the distinct issue of whether it would be appropriate under
regular choice-of-law principles to apply Rhode Island law to a nationwide class under
Rule 23. The latter inquiry is one best reserved for class certification. See Forcellati v.
Hyland’s, Inc., 876 F. Supp. 2d 1155, 1160 n.3. The former, however, goes to the heart of
the Court’s subject-matter jurisdiction and should be decided as soon as possible. See Lee
v. State of Oregon, supra, 107 F.3d at 1390. While it is true that “choice of law is not the
4
  Under California’s three-prong “governmental interest test,” Plaintiff, as the party invoking foreign law,
bears the burden of initially proving: (1) that Rhode Island is different than California law; and (2) that the
difference is material. See Allen v. Hyland’s, supra, 300 F.R.D. at 656-58. Plaintiff fails to show either,
and for that reason alone cannot rely on choice-of-law to invoke the RIDTPA. However, even assuming
there is a true conflict between California law and Rhode Island law, Plaintiff fails to establish any basis
for applying Rhode Island law to him that might give him standing to assert such a claim.
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same thing as standing,”5 under these circumstances a choice-of-law analysis is essential
to determine whether Plaintiff has any standing to bring his claim under Rhode Island law.
It may be that Plaintiff has standing to bring some claim from his California purchase, but
“plaintiff must demonstrate standing for each claim he seeks to press.” DaimlerChrysler
Corp. v. Cuno, supra, 547 U.S. at 335 (emphasis added). Where “the source of the
plaintiff’s claim to relief” is a statute, “the standing question…is whether the…statutory
provision on which the claim rests properly can be understood as granting persons in the
plaintiff’s position a right to judicial relief.”6 Warth v. Seldin, supra, 422 U.S. at 500.
“In cases involving statutory rights, the particular statute and the rights it conveys guide the
standing determination.” Tourgeman v. Collins Fin. Servs., Inc., 755 F.3d 1109, 1114
(9th Cir. 2014) (internal quotes and edits omitted).7 At minimum, this means that “a
plaintiff must be among the injured, in the sense that she alleges the defendants violated
her statutory rights.” Robins v. Spokeo, Inc., 742 F.3d 409, 413 (9th Cir. 2014) (emphasis
in original) (internal quotes omitted).

       Put simply, Plaintiff must show that he actually had rights under the RIDTPA to
begin with before he has standing to claim he CVS violated those statutory rights. Absent
an enforceable right under the RIDTPA, Plaintiff cannot have suffered a claim-specific
injury under the statute. Warth v. Seldin, supra, 422 U.S. at 500; accord Nirmul v. BMW
of N. Am., LLC, 10 Civ. 5586(SDW), 2011 WL 5195801 (D.N.J. Oct. 31, 2011) (plaintiffs,
who were not citizens of New Jersey and their only connection to New Jersey was that
defendant was headquartered there, lacked standing to bring suit under New Jersey
consumer protection statute because they had no basis to invoke protection of New Jersey
law). There are numerous ways Plaintiff could have demonstrated a cognizable,
individualized right under Rhode Island law – including but not limited to an
individualized choice-of-law analysis. He failed to make that showing, and lacks standing
to seek the protection of a statute that never applied to him in the first place. Whether
Defendant’s alleged conduct gives Plaintiff individualized standing to seek a remedy under
California law is immaterial to his claim-specific burden of showing an individualized

5
  Allen v. Hylands, Inc., No. CV 12-01150 DMG MANX, 2012 WL 1656750, at *2 (C.D. Cal. May 2,
2012)
6
   The question of available relief raises a related but distinct obstacle to Plaintiff’s claim of standing.
Article III demands that Plaintiff must not only demonstrate an injury, but an available remedy. Steel Co.
v. Citizens for a Better Environment, 523 U.S. 83, 107 (1998); Boating Industry Associations v. Marshall,
601 F.2d 1376, 1380 (9th Cir. 1979). Though choice-of-law and standing are analytically distinct,
Plaintiff asserts no plausible basis to suggest he has a remedy under Rhode Island law other than through
a choice-of-law analysis. Because that analysis eliminates Plaintiff’s only hope of a remedy under Rhode
Island law, it also defeats his claim-specific assertion of standing under Rhode Island law. See In re
Multidistrict Vehicle Air Pollution, 538 F.2d 231, 235 n.5 (holding it is “a futile gesture to read the
language of [a statute] as granting standing to seek a remedy which was necessarily unavailable”).
7
  This is true whether the statutory right (and therefore Article III standing) is created by a state statute or
an act of Congress. Cantrell v. City of Long Beach, 241 F.3d 674, 684 (9th Cir. 2001).
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injury under Rhode Island law.8

                2.    Plaintiff’s Claims for Punitive Damages and Attorneys’ Fees
                      Under the RIDTPA Fail for the same Reason
         Plaintiff also claims that he has satisfied CAFA’s $5,000,000 threshold amount in
controversy requirement because he has prayed for punitive damages and attorneys’ fees
under the RIDTPA. (Opp., Dkt. No. 108, p. 5 n.10-11.) Plaintiff, however, has no
standing to invoke Rhode Island law and cannot rely on the RIDTPA’s attorneys’ fee and
punitive damages provisions. Besides, Plaintiff does not argue that he can satisfy
CAFA’s amount-in-controversy requirement based on any punitive damages and
attorneys’ fees provision of California law. This is particularly so given that Plaintiff only
alleges claims under California law on behalf of the California sub-class, where sales at the
time Plaintiff brought suit totaled only $151,701. (Dkt. No. 107-3, ¶7.)

                3.    Plaintiff Has Not Met His Burden of Establishing that the Value of
                      Injunctive Relief Exceeds $5,000,000
       Finally, Plaintiff claims that the value of injunctive relief should be considered in
calculating the amount in controversy. (Opp., Dkt. No. 108, pp. 6-7.) “The test for
determining the amount in controversy is the pecuniary result to either party that the
judgment would directly produce.” In re Ford Motor Co./Citibank (S. Dakota), N.A., 264
F.3d 952, 958 (9th Cir. 2001). Where a plaintiff’s potential monetary recovery is below
the jurisdictional threshold, this “pecuniary result” rule means that courts also consider
“the potential cost to the defendant of complying with [an] injunction….” Id. But as
with all other aspects of jurisdiction, Plaintiff (as the party invoking federal jurisdiction
under CAFA) bears the burden of proving “what the value of the injunction they seek in
this case might be.” Hildreth v. Unilever U.S., Inc., No. CV 10-07936 MMM (SSx), 2010
WL 5174385 at *4 n.21 (C.D. Cal. Dec. 15, 2015).

       Plaintiff fails to offer any “substantial, plausible evidence,” Rea v. Michaels Stores
Inc., 742 F.3d 1234, 1239 (9th Cir. 2014), indicating the value of the injunctive relief
Plaintiff seeks, let alone that the value of that injunctive relief exceeds CAFA’s
jurisdictional threshold. Instead, Plaintiff argues that during meet-and-confer discussions
in advance of this motion, Plaintiff “requested that CVS provide a reasonable and
supported estimate of such costs, and the opportunity to take discovery concerning the
same” but that “CVS did not agree to provide plaintiff with an estimate, nor discovery.”
(Fitzgerald Decl., Dkt. No. 108-1, ¶3.)
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  Nor does the Court’s analysis prematurely decide Plaintiff’s adequacy to serve as a class representative
under Rule 23 for non-California plaintiffs. Whether Plaintiff’s claim and interests are sufficiently
aligned with non-California class members such that he could adequately represent their interests under
Rule 23 is a different question than the one the Court addresses here: whether he has standing to
personally assert a claim under Rhode Island law.
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       Yet, as Plaintiff is eager to point out in a different context (Opp., Dkt. No. 108, p. 3
n.3), this action had been pending for more than 18 months by the time Plaintiff filed his
opposition. Plaintiff fails to offer any reason why 18-months of discovery was inadequate
for him to obtain that information (or any other discovery necessary to make a prima facie
showing that the amount-in-controversy exceeds $5,000,000) with any of the numerous
discovery mechanisms at his disposal. At minimum, if Plaintiff thought such information
was essential to his opposition, he could have immediately served an interrogatory or
request for production and asked the Court to continue hearing on this motion pending
Defendant’s responses to that discovery.9 He did not do so. Instead, Plaintiff complains
that Defendant declined to respond to an informal request during their meet-and-confer
discussions before Defendant filed the motion. Notably, Plaintiff cites no authority to
suggest Defendant had any obligation to comply with Plaintiff’s belated, informal request
for discovery. It is Plaintiff's burden to make a prima facie showing10 that the amount in
controversy satisfies the $5,000,000 jurisdictional threshold. Merely arguing in an
opposition brief that that “such cost is substantial” is not evidence at all, let alone prima
facie evidence included in the computation of the amount of controversy.11 Plaintiff has
failed to meet his burden of showing that the cost of complying with the injunctive relief he
seeks would exceed CAFA’s jurisdictional threshold.

            B.     Plaintiff Cannot Meet the MMWA Jurisdictional Requirement of at
                   Least 100 Named Plaintiffs
      Separately, this Court does not have subject-matter jurisdiction under the MMWA,
which provides federal courts with original subject-matter jurisdiction over state law
express and implied warranty claims. See 15 U.S.C. § 2301 et seq.

       Like CAFA, the MMWA comes with explicit jurisdictional requirements for the
maintenance of a class action lawsuit. Specifically, the MMWA provides that “[no] claim
shall be cognizable in a suit brought under [the Act] . . . if the action is brought as a class

9
  Better still, Plaintiff could have served the discovery request long ago and moved to compel if he
thought CVS’s response inadequate.
10
   As the Court noted above, although the party invoking a court’s diversity jurisdiction must generally
overcome a jurisdictional challenge to the amount in controversy by a preponderance of the evidence, the
standard is only prima facie showing where, as here, the court declines to hold an evidentiary hearing.
Rancheria v. Bonham, supra, 872 F. Supp. 2d at 968. Plaintiff’s claim of jurisdiction fails under either
standard.
11
    This is particularly so in light of the fact that Plaintiff lacks standing to assert any claims under Rhode
Island law, and his only other claims are limited to the putative California sub-class. Plaintiff does not
even argue – let alone prove – that the cost of complying with an injunction in California would exceed
$5,000,000. Nor can the Court simply speculate that the costs of complying with an injunction on
Plaintiff’s remaining California claims would necessarily exceed $5,000,000, which is roughly 33 times
CVS’s total California sales.
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action, and the number of named plaintiffs is less than one hundred.” 15 U.S.C.
§ 2310(d)(3)(C). “Courts interpreting the statutory provision at issue, however, have held
that the requirement is satisfied when plaintiffs properly invoke jurisdiction under” CAFA.
Keegan v. Am. Honda Motor Co., 838 F. Supp. 2d 929, 954 (C.D. Cal. 2012); see also,
Wolph v. Acer America Corp., No. C 09–01314 JSW, 2009 WL 2969467, *2 (N.D.Cal.
Sept. 14, 2009) (“Acer further contends that Plaintiffs are required to identify at least 100
members of the purported class in their Complaint.... [B]ecause Plaintiffs allege an
alternative basis for jurisdiction under CAFA, the Court has jurisdiction to adjudicate
Plaintiffs' Magnuson–Moss Act claim”); In re Sony Vaio Computer Notebook Trackpad
Litig., No. 09–cv–2109 BEN (RBB), 2010 WL 4262191, *4 (S.D.Cal. Oct. 28, 2010)
(“[C]ourts considering the viability of a Magnuson–Moss claim following passage of
CAFA have found that CAFA jurisdiction includes class actions filed pursuant to
Magnuson–Moss that fail to meet the strict jurisdictional requirements of Magnuson–
Moss”); NVIDIA GPU Litig., 2009 WL 4020104 at *7 n. 13 (“The Court notes that
Plaintiffs satisfy the Magnuson–Moss Act’s jurisdictional requirement because they allege
jurisdiction based on the Class Action Fairness Act”).

       In this case, Plaintiff indisputably brings a class action, and he is the only named
plaintiff. Plaintiff fails to respond to this argument in its opposition, effectively conceding
that his claim under the MMWA hinges on CAFA jurisdiction. Even if subject-matter
jurisdiction under CAFA is sufficient to give federal courts jurisdiction over a MMWA
claim, the Court does not have jurisdiction under CAFA and lacks any independent
jurisdiction under the MMWA. Absent CAFA jurisdiction, Plaintiff cannot pursue a
claim under the MMWA as the sole named plaintiff. Brazil v. Dole Food Co., 935 F.
Supp. 2d 947, 965 (N.D. Cal. 2013) (holding court lacked subject-matter jurisdiction over
MMWA claim in the absence of CAFA jurisdiction where “there is only one named
plaintiff”).

    IV.     CONCLUSION
       For the reasons stated above, Plaintiff, a California resident, lacks standing to assert
a claim under the RIDTPA or any other provision of Rhode Island law for his
California-based transaction, and he cannot rely on that foreign statute’s statutory damages
provision (or its provision for attorneys’ fees and punitive damages) for purposes of
calculating the CAFA jurisdictional amount-in-controversy. Absent those statutory
damages, Plaintiff fails to make a prima facie showing that the amount-in-controversy on
his remaining California claims exceeds $5,000,000. Nor has Plaintiff met his burden of
demonstrating any likelihood that the costs to CVS of complying with an injunction would
exceed $5,000,000. In light of Defendants uncontroverted evidence that the amount in
controversy is well below the $5,000,000 jurisdictional requirement, this Court lacks
subject-matter jurisdiction under CAFA. Additionally, this Court lacks subject-matter
jurisdiction under the MMWA because Plaintiff brought this action as a class action, and
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he is the only named plaintiff. Because Plaintiff asserts no other basis for federal
subject-matter jurisdiction, the Court GRANTS Defendant’s motion to dismiss (Dkt. No.
107), and DISMISSES this action WITHOUT PREJUDICE to Plaintiff reasserting his
claims in a court of competent jurisdiction.

        The Pretrial and Jury Trial dates are hereby vacated.

        IT IS SO ORDERED.




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